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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

                                            )
                                            )
    LAQUITA BYRD and MARCUS BYRD,           )
    both individually and as                )
    wrongful death                          )
    representatives of DEION BYRD           )

            Plaintiffs,

    v.                                      )    No. 2:24-cv-02043-SHM-tmp
                                            )
    SHERIFF FLOYD BONNER, JR., in           )
    his individual capacity;                )
    CHIEF JAILOR KIRK FIELDS, in            )
    his individual capacity; and            )
    THE GOVERNMENT OF SHELBY
    COUNTY, TENNESSEE

            Defendants.

                     ORDER GRANTING MOTION TO DISMISS AND
                   DENYING AS MOOT MOTION TO STAY DISCOVERY



           Plaintiffs Laquita Byrd and Marcus Byrd bring this action

under 42 U.S.C. § 1983. Before the Court is Defendants Floyd

Bonner, Jr. and Kirk Fields’ Motion to Dismiss. See ECF No. 16.1

Plaintiffs         have    responded.    See ECF      No.   25.   Defendants        have

replied.         See ECF    No.   26.     Defendants’       Motion       is     GRANTED.

Plaintiffs’         supervisory-liability       and     deliberate-indifference

claims         against     Defendants     are   DISMISSED         WITH        PREJUDICE.


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  Shelby County, Tennessee is also a defendant in this action. Shelby
County has not filed a motion to dismiss. For purposes of this Order,
“Defendants” refers only to Defendants Bonner and Fields.
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Defendants’ pending Motion to Stay, see ECF No. 17, is DENIED AS

MOOT.

I.     Background

       On October 26, 2023, Deion Byrd was a pretrial detainee at

the Shelby County Jail (the “SCJ”) in Memphis, Tennessee. See ECF

No. 1, ¶ 14.2 Byrd had a court appearance that day and was placed

in a holding cell behind a courtroom. See id. Another detainee,

“Inmate Clay”, was with Byrd. Id. The two men were unsupervised

while “waiting to be escorted back to the SCJ.” Id.


       A “confrontation occurred between the two men,” and Byrd

“was chased into a nearby interview room and then stabbed at

least once in the neck with a ‘shank.’” Id. Byrd and Inmate Clay

were unmonitored during the confrontation, and it was only after

Byrd had been stabbed “that a correctional officer re-entered

the inmate area and witnessed Inmate Clay throw the ‘shank’ on

the floor.” Id. Byrd died. See id. at 1.


       Plaintiffs, Byrd’s parents, bring this action individually

and as Byrd’s wrongful death representatives. Id. at 1–2. Bonner

is the Sheriff of Shelby County. Id. ¶ 2. Fields is the Director

of the SCJ. Id. ¶ 3.



2 When citing the Complaint, the Court refers to paragraph numbers
where applicable. When an allegation does not correspond to a specific
paragraph number, the Court cites page numbers generated by the ECF
system.

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     Plaintiffs allege that several dangerous conditions have

persisted at the SCJ for many years, including overcrowding,

understaffing, and poor inmate monitoring. See id. ¶¶ 98, 102.

Plaintiffs allege that those conditions have increased the risk

of inmate-on-inmate violence, that such violence has been rampant

at the SCJ during Defendants’ tenures, and that the SCJ has

become more dangerous under Defendants’ management. See id.

¶¶ 18–41, 98, 102. Plaintiffs support their allegations with

statistics of assaults and deaths at the SCJ, see id. ¶¶ 18–20,

comparisons to other correctional institutions, see id. ¶¶ 31–

41, reports from outside investigations, see id. ¶¶ 45–52, and

a description of another SCJ pretrial assault, see id. ¶¶ 21–30.


     Plaintiffs’ causes of action against Defendants are labeled

“Supervisory Liability under 42 U.S.C. § 1983.” See id. at 27,

29. Although Plaintiffs make a separate claim against each

Defendant, the language of the two claims is largely identical.

Compare   id.   ¶¶ 96–99   (supervisory-liability       claim     against

Bonner), with id. ¶¶ 100–03 (supervisory-liability claim against

Fields). Language in the Complaint could be construed to assert

deliberate-indifference (sometimes called “failure-to-protect”

or “deliberate-indifference for failure to protect”) claims.

Plaintiffs were directed to notify the Court whether they sought

to recover on both claims. See ECF No. 29. Plaintiffs responded



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affirmatively,    and    the   Parties    briefed    the    viability     of

deliberate-indifference claims and supervisory-liability claims.

See ECF Nos. 30–32.


     Plaintiffs allege that Defendants were “at all pertinent

times responsible for the management of the [SCJ].” See ECF No.

1, ¶¶ 96, 100. Plaintiffs allege that Defendants “had a non-

delegable duty and responsibility to formulate, oversee, and

implement official policies, practices, customs, and procedures

of and for the [Shelby County Sheriff’s Office (“SCSO”)].” Id.

¶¶ 97, 101. Plaintiffs allege that, before and at the time of

Byrd’s death, Defendants “knew” of the extensive levels of

inmate-on-inmate violence at the SCJ, knew of several dangerous

conditions that could contribute to the violence, and knew of

ways to reduce the violence. See id. ¶¶ 98, 102. Plaintiffs

allege that, “[d]espite [that] knowledge, [Defendants] . . .

failed to take adequate steps to curb inmate-on-inmate violence

at the [SCJ].” Id. ¶¶ 99, 103.


     Elsewhere in the Complaint, Plaintiffs allege that “Shelby

County and Sheriff Bonner individually, are specifically making

a conscious decision to ensure any applicants to the Shelby

County’s Sheriff’s Department first and foremost attempt to gain

employment   as   a   patrol   officer,   [which    contributes     to   the

understaffing issues at the SCJ],             and are thus exhibiting


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deliberate indifference to the needs, safety, and wellbeing of

the inmates under their control and protection all for the bottom

dollar of Shelby County.” Id. ¶ 62.


       Plaintiffs    allege    that      Fields     “maintains       few   formal

reporting processes to allow him to monitor activities at the

[SCJ].” Id. ¶ 78. Plaintiffs contend that Fields “relies only on

verbal reports from his division heads in informal staff meetings

that are not documented in any way”, and that “disciplinary

issues for both inmates and staff are handled on a case-by-case

basis and are not analyzed in a fashion that would allow [Fields]

and his leadership team to determine whether the [SCJ] is in

compliance with its putative policies.” Id.


       Defendants    contend      that       Plaintiffs’    claims    should   be

dismissed for four reasons. One, the claims fail to make specific

allegations about how Defendants were personally involved in the

deprivation of Byrd’s rights. See ECF No. 16-1, at 3–4. Two, on

the supervisory-liability claims, Plaintiffs do not allege that

Defendants “encouraged the specific incident of misconduct or in

some other way directly participated in it.” See id. at 4

(quoting Cardinal v. Metrish, 564 F.3d 794, 802–03 (6th Cir.

2009)). Three, on the deliberate-indifference claims, Plaintiffs

do    not   plead,   with   particularity,          facts    that    demonstrate

Defendants were deliberately indifferent to the conditions and


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risks Byrd faced. See ECF No. 31, at 2–3. Four, Defendants are

entitled to qualified immunity because Plaintiffs fail to plead

with specificity what conduct was unconstitutional and what

clearly established right was violated. See ECF No. 16-1, at 8–

9; ECF No. 31, at 4–5.


II.   Jurisdiction

      Plaintiffs’ claims are brought under 42 U.S.C. § 1983. The

Court has jurisdiction pursuant to 28 U.S.C. § 1331.


III. Standards

      A.   Standard of Review

      To survive a motion to dismiss, a complaint’s factual

allegations must be “sufficient to give notice to the defendant

as to what claims are alleged, and the plaintiff must plead

‘sufficient factual matter’ to render the legal claim plausible,

i.e., more than merely possible.” Hayward v. Cleveland Clinic

Found., 759 F.3d 601, 608 (6th Cir. 2014) (quoting Fritz v.

Charter Twp. of Comstock, 592 F.3d 718, 722 (6th Cir. 2010)).

The Court must “view the complaint in the light most favorable

to [Plaintiffs] as the nonmovant[s], accepting the complaint’s

well-pleaded     factual   allegations       as   true    and      drawing    all

reasonable   inferences    in   favor   of    [Plaintiffs].”         Zakora    v.

Chrisman, 44 F.4th 452, 464 (6th Cir. 2022). However, the Court

does not apply those presumptions “to threadbare recitals of a


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cause       of    action's   elements,        supported   by    mere     conclusory

statements.” Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009) (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

       B.        Requirements to State a Claim under 42 U.S.C § 1983

       Section 1983 “is not itself a source of substantive rights,

but merely provides a method for vindicating federal rights

elsewhere conferred.” Moldowan v. City of Warren, 578 F.3d 351,

376 (6th Cir. 2009) (internal quotation marks omitted) (quoting

Graham v. Connor, 490 U.S. 386, 393–94 (1989)). “To state a

cognizable claim against an individual under § 1983, ‘a plaintiff

must set forth facts that, when construed favorably, establish

(1) the deprivation of a right secured by the Constitution or

laws of the United States (2) caused by a person acting under

color of state law.’” Heyerman v. County of Calhoun, 680 F.3d

642, 647 (6th Cir. 2012) (quoting Sigley v. City of Parma

Heights, 437 F.3d 527, 533 (6th Cir. 2006)).


       C.        Qualified Immunity

       Bonner and Fields assert the defense of qualified immunity.

See ECF No. 16-1, at 7–9. “The qualified-immunity doctrine

shields government officials performing discretionary functions

from    civil      liability     unless   their    conduct      violates     clearly

established rights.” Quigley v. Tuong Vinh Thai, 707 F.3d 675,

680    (6th      Cir.   2013).    “Once   a     defendant      invokes    qualified

immunity, the plaintiff bears the burden to show that qualified

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immunity     is    inappropriate”       by    demonstrating         that    “(1)    the

defendant violated a constitutional right; and (2) the right was

clearly established.” Id. at 680–81 (quoting Bishop v. Hackel,

636 F.3d 757, 765 (6th Cir. 2011)).


       D.    Fourteenth Amendment Rights

       Pretrial detainees have a Fourteenth Amendment right to

reasonable        protection     from    violence         inflicted         by   other

detainees. See Westmoreland v. Butler County, 29 F.4th 721, 726–

27 (6th Cir. 2022). “It is not, however, every injury suffered

by    one   [pretrial    detainee]       at   the     hands    of    another       that

translates into constitutional liability for prison officials

responsible for the victim’s safety.” Id. (quoting Farmer v.

Brennan, 511 U.S. 825, 834 (1994)). To hold specific prison

officials liable for a constitutional violation, detainees must

show that they were confined under conditions that posed a

substantial       risk   of    serious   harm       and   that   the       identified

officials     played     active    roles      in    creating     those       specific

conditions. See id. at 726–27, 729; see also Helphenstine v.

Lewis County, 60 F.4th 305, 321 (6th Cir. 2023). Plaintiffs

submit two theories by which they seek to hold Defendants liable

for     Byrd’s     death:      supervisory         liability     and       deliberate

indifference.




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IV.    Supervisory Liability

       A. Law

       Supervisory-liability               claims         are   a     means     by      which

government officials can be held liable for violating pretrial

detainees’ right to be reasonably protected from violence. “[A]

prerequisite          of       supervisory          liability        under     § 1983      is

unconstitutional conduct by a subordinate of the supervisor.”

McQueen v. Beecher Cmty. Schs., 433 F.3d 460, 470 (6th Cir.

2006). “To succeed on a supervisory liability claim, a plaintiff

must    show       that    a    supervisory         official    at    least     implicitly

authorized,          approved         or     knowingly          acquiesced        in     the

unconstitutional               conduct     of       the     offending        subordinate.”

Helphenstine, 60 F.4th at 321 (quoting Crawford v. Tilley, 15

F.4th       752,    761        (6th   Cir.      2021)).      “This     requires        active

unconstitutional conduct by the supervisor because supervisory

liability will not attach for a failure to act.” Id.


       In    narrow       circumstances,            inaction    can   be     construed     as

implicit authorization of a subordinate’s conduct, and thus be

considered “active involvement” in the constitutional violation.

See Winkler v. Madison County, 893 F.3d 877, 898–99 (6th Cir.

2018). A plaintiff seeking to establish “active involvement” in

that way must show 1) the supervisor knew that his subordinates

were engaging in unconstitutional conduct, 2) the supervisor

failed       to    perform        a   specific        job    responsibility,           3) the

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fulfillment of that responsibility would have prevented the

unconstitutional conduct, and 4) the supervisor’s choice to

abdicate that job responsibility directly caused the alleged

constitutional violation. See id. (citing Taylor v. Mich. Dep’t

of Corr., 69 F.3d 76, 80–81 (6th Cir. 1995); then citing Hill v.

Marshall, 962 F.2d 1209, 1213 (6th Cir. 1992)).


       However a plaintiff establishes a defendant’s involvement,

there “must be a ‘causal connection’ between the defendant’s

‘active     unconstitutional         behavior’     and     the      plaintiff’s

injuries.” Crawford, 15 F.4th at 761–62 (quoting Peatross v.

City   of   Memphis,    818   F.3d   233,   242    (6th   Cir.     2016)).   The

“defendant's execution of his job functions must have caused the

plaintiff's injury.” Id. at 762.


       B.   Constitutional Violation

            1.    Sheriff Bonner

       Plaintiffs have not plausibly alleged that Bonner violated

Byrd’s Fourteenth Amendment rights by failing to protect Byrd

from detainee-on-detainee violence. Plaintiffs’ claim fails for

at least two reasons.


       One, at the root of a supervisory-liability claim is the

requirement      that   the   defendant’s        subordinate       injured   the

plaintiff by acting unconstitutionally. The plaintiff then seeks

to hold the defendant liable for the defendant’s participatory

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role    in    the     subordinate’s           unconstitutional              conduct.      See

Helphenstine, 60 F.4th at 321; McQueen, 433 F.3d at 470. Here,

Plaintiffs do not allege with particularity that one of Bonner’s

subordinates acted unconstitutionally by leaving Byrd and Inmate

Clay    unmonitored       temporarily         or      by    otherwise        creating     the

specific conditions that caused Inmate Clay’s attack on Byrd.


       Two, even if Plaintiffs had pled that one of Bonner’s

subordinates        acted    unconstitutionally,               Plaintiffs          have   not

plausibly alleged that Bonner authorized, approved, knowingly

acquiesced in, or directly participated in that unconstitutional

conduct. The crux of Plaintiffs’ claim against Bonner is that,

despite      knowledge      of    dangerous        conditions        at      the    SCJ   and

knowledge of possible remedies for those conditions, Bonner

“failed to take adequate steps to curb inmate-on-inmate violence

at the [SCJ].” See ECF No. 1, ¶ 99. A supervisory-liability claim

“requires     active      unconstitutional            conduct       by   the    supervisor

because supervisory liability will not attach for a failure to

act.”    Helphenstine,           60   F.4th      at    321.    To    the     extent       that

Plaintiffs allege Bonner abdicated his job responsibilities,

see Winkler,        893   F.3d,       at   898–99,         their    claim     also    fails.

Plaintiffs do not allege that Bonner knew that his subordinates

were    acting      unconstitutionally             or      that     Bonner’s        inaction




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directly (as opposed to indirectly) resulted in the circumstances

that Byrd faced on October 26, 2023.


      Plaintiffs allege that “Shelby County and Sheriff Bonner

individually, are specifically making a conscious decision to

ensure any applicants to the Shelby County’s Sheriff’s Department

first   and    foremost   attempt   to     gain   employment       as   a   patrol

officer,” contributing to staffing shortages at the SCJ. See ECF

No. 1, ¶ 62. Allegations about Bonner’s general hiring practices

do not plausibly establish that Bonner directly caused Byrd’s

constitutional injury. Plaintiffs do not allege that Bonner knew

his   subordinates    were   acting      unconstitutionally        in   the   SCJ

holding cells. Plaintiffs do not allege that Bonner “encouraged

the specific incident of misconduct or in some other way directly

participated in it.”       Taylor, 69 F.3d at 81 (quoting Bellamy v.

Bradley, 729 F.2d 416, 421 (6th Cir. 1984)). Plaintiffs do not

allege that Bonner was aware of and at least acquiesced in the

conduct of his subordinates during Byrd’s court appearance on

October 26, 2023. See Winkler, 893 F.3d, at 898–99.


              2.   Director Kirk Fields

      Plaintiffs fail to plausibly allege that Fields violated

Byrd’s Fourteenth Amendment right to be free from detainee-on-

detainee violence.




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        Plaintiffs do not allege that one of Fields’ subordinates

acted unconstitutionally when Byrd and Inmate Clay were left

unsupervised temporarily in the holding cell. Unconstitutional

conduct by a subordinate is a “prerequisite” of supervisory

liability under § 1983. McQueen,433 F.3d at 470.


        Plaintiffs’      core        allegation        is    that,     despite      having

knowledge of unsafe conditions at the SCJ and knowledge of ways

to correct those conditions, Fields “failed to take adequate

steps to curb inmate-on-inmate violence at the [SCJ].” Id. ¶ 103.

That     conduct    does       not    amount      to   the     “active       involvement”

necessary         for      a     viable           supervisory-liability             claim.

See Helphenstine, 60 F.4th at 321.


        Plaintiffs       allege       that     Fields        maintained        inadequate

reporting and disciplinary processes at the SCJ. See ECF No. 1,

¶ 78.     Fields’       alleged       administrative           shortcomings       do   not

plausibly establish that Fields impliedly authorized, approved,

or    knowingly     acquiesced        in   a   subordinate’s          unconstitutional

conduct,     or    otherwise         directly      participated        in     a   specific

incident of alleged unconstitutional conduct.


             3.      Summary

        Plaintiffs have not alleged plausible supervisory-liability

claims     against      Defendants.        The     supervisory-liability            claims

against Defendants are DISMISSED WITH PREJUDICE.

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V.      Deliberate Indifference or Failure to Protect

        A. Law

        Deliberate-indifference claims are another means by which

government officials can be held liable for violating pretrial

detainees’ Fourteenth Amendment right to be reasonably protected

from detainee-on-detainee violence. See Westmoreland, 29 F.4th

at    729.   To   establish    deliberate    indifference,        a     pretrial-

detainee plaintiff must not only show that a defendant “acted

deliberately (not accidentally), but also recklessly ‘in the

face of an unjustifiably high risk of harm that is either known

or so obvious that it should be known.’” Brawner v. Scott County,

14 F.4th 585, 596 (6th Cir. 2021) (quoting Farmer, 511 U.S. at

836). “A pretrial detainee must prove ‘more than negligence but

less     than     subjective      intent—something     akin       to     reckless

disregard.’” Id. (quoting Castro v. County of Los Angeles, 833

F.3d 1060, 1071 (9th Cir. 2016) (en banc)).


        The Sixth Circuit has stated a four-part test. To “establish

deliberate indifference for failure to protect, ‘a defendant

officer must [1] act intentionally in a manner that [2] puts the

plaintiff at a substantial risk of harm, [3] without taking

reasonable steps to abate that risk, [4] and by failing to do so

actually cause the plaintiff’s injuries.’” Stein v. Gunkel, 43

F.4th 633, 639 (6th Cir. 2022) (quoting Westmoreland, 29 F.4th

at 729). Considering the first factor, Sixth Circuit caselaw

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makes clear that the relevant inquiry is whether the defendant’s

conduct was intentional as to the plaintiff. That is, whether

the defendant made decisions about the plaintiff’s specific

conditions of confinement rather than about the conditions of

confinement applied to pretrial detainees generally.3


       B.   Constitutional Violation

            1.    Sheriff Bonner

       Plaintiffs have not alleged a plausible claim that Bonner

violated     Byrd’s    Fourteenth        Amendment   rights      by    being

deliberately indifferent to a substantial risk of harm that Byrd

faced.




3
  See, e.g., Buetenmiller v. Macomb Cnty. Jail, 53 F.4th 939, 945–46
(6th Cir. 2022) (no intentional decision made when an officer did not
stop known policy infractions because the officer was not informed
about the danger that a detainee faced specifically); Stein, 43 F.4th
at 639 (assuming, for purposes of analysis, that an intentional
decision was made when two deputies selected the booking classification
of a detainee’s assailant); Westmoreland, 29 F.4th at 729 (finding
that an intentional decision was made when an officer chose to keep a
pretrial detainee in a particular cell after being advised about safety
concerns); McGowan v. Herbert, No. 22-2033, 2023 WL 2945341, at *3
(6th Cir. Apr. 14, 2023) (finding that an intentional decision was
made when an officer moved a specific detainee out of protective
custody); Reece v. Carey, No. 22-5275, 2023 WL 3003191, at *4 (6th
Cir. Apr. 19, 2023) (assuming, for purposes of analysis, that an
intentional decision was made when a deputy classified a detainee as
minimum security and placed that detainee in an overcrowded cell with
higher-security detainees); Davis v. Chorak, No. 22-1839, 2023 WL
2487339, at *3 (6th Cir. Mar. 14, 2023) (finding that an intentional
decision was made when two deputies “made intentional security-
classification decisions” as to the detainee and his attacker). See
also Castro, 833 F.3d at 1070–72 (finding no dispute that an
intentional decision was made when defendants placed the assailant in
the plaintiff’s cell and created the specific conditions that resulted
in a lack of supervision).

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     Plaintiffs have not plausibly alleged that Bonner made any

intentional        decisions    about   Byrd’s     relevant    conditions       of

confinement. Plaintiffs allege that Bonner knew of dangerous

conditions at the SCJ but “failed to take adequate steps to curb

inmate-on-inmate violence at the [SCJ].” See ECF No. 1, ¶ 99.

Plaintiffs also allege that Bonner, along with Shelby County,

made a conscious decision to ensure that applicants to the SCSO

sought employment as patrol officers before employment as SCJ

employees. See id. ¶ 62. Those allegations do not suggest that

Bonner knew about Inmate Clay’s proclivity for violence, made a

deliberate choice about Byrd’s temporary proximity to Inmate

Clay,    or   selected    the   level   of     supervision    that    those   two

detainees received on October 26, 2023.


              2.    Director Kirk Fields

     Plaintiffs have not alleged a plausible claim that Fields

violated      Byrd’s     Fourteenth          Amendment   rights       by    being

deliberately indifferent to a substantial risk of harm that Byrd

faced.


     Plaintiffs have not plausibly alleged that Fields made

intentional        decisions    about   Byrd’s     relevant    conditions       of

confinement. Plaintiffs allege that Fields knew about several

dangerous conditions at the SCJ, but “failed to take adequate

steps to curb inmate-on-inmate violence at the [SCJ].” See id.


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¶ 103. Plaintiffs also allege that Fields maintained inadequate

reporting and disciplinary processes at the SCJ. See id. ¶ 78.

Plaintiffs do not allege that Fields knew about any danger posed

specifically      by   Inmate    Clay,     made       any   decisions     about    the

placement    of   Inmate      Clay   and      Byrd,    or   chose   the    level    of

supervision that those two detainees received on October 26,

2023.


            3.     Summary

      Plaintiffs have not pled plausible deliberate-indifference

claims against Defendants. The deliberate-indifference claims

against Defendants are DISMISSED WITH PREJUDICE.


VI.   Individual versus Official Capacity

      The implausibility of Plaintiffs’ claims is attributable to

a problem more fundamental than failing to satisfy the elements

of their alleged causes of action. Plaintiffs attempt to hold

Defendants    liable     in     their    individual         capacities.    However,

Plaintiffs’ claims are more appropriately classified as claims

against Defendants in their official capacities, and therefore

as claims of municipal liability.

      Absent evidence of personal involvement in the underlying

unconstitutional conduct, a claim premised on a supervisory

official’s adherence to, or continuation of, a policy “improperly

conflates a § 1983 claim of individual supervisory liability


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with one of municipal liability.” Heyerman, 680 F.3d at 647–48

(quoting Phillips v. Roane County, 534 F.3d 531, 543 (6th Cir.

2008)); see also Harvey v. Campbell County, 453 F. App’x 557,

563 (6th Cir. 2011).

     In Rager ex rel. GC v. McMinn County, Timothy Cook, a

pretrial detainee, was placed in a booking cell with a “violent,

frequent flyer at the prison.” No. 21-5987, 2023 WL 4927252, at

*1 (6th Cir. Aug. 2, 2023). Jail employees had other booking

cells available and knew about the frequent flyer’s “assaultive

tendencies”, but they adhered to “an informal ‘clean slate’

policy, meaning that every inmate who entered the Jail was

treated the same, even those with past disciplinary issues.” Id.

The sheriff supported that policy as “the right thing to do”,

but he was not personally involved in booking Cook. See id. The

frequent flyer attacked Cook, who later died. See id. The Sixth

Circuit   concluded   that,    because    the     failure-to-protect           and

failure-to-train   claims      against    the    sheriff     were        “premised

entirely on the policy he created as the policymaking authority

for [the county]”, the plaintiff’s claims had to be construed as

claims of municipal liability. Id. at *3.

     Here,   Plaintiffs     allege    that      Defendants        “had    a   non-

delegable duty and responsibility to formulate, oversee, and

implement official policies, practices, customs, and procedures


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of and for the SCSO.” See ECF No. 1, ¶¶ 97, 101. Plaintiffs

allege that, despite knowing about dangerous conditions at the

SCJ    and    knowing   about     ways    to    alleviate     those     conditions,

Defendants “failed to take adequate steps to curb inmate-on-

inmate violence at the [SCJ].” Id. ¶¶ 99, 103. Those claims are,

at    their    core,    premised    on    Defendants’        official     roles    as

policymakers for Shelby County. As such, the claims are more

appropriately classified as claims of municipal liability.


VII. Motion to Stay

        Defendants have filed a Motion to Stay, see ECF No. 17,

seeking to pause litigation until the Court has ruled on their

Motion to Dismiss. This Order resolves the Motion to Dismiss.

The Motion to Stay is DENIED AS MOOT.


VIII.         Conclusion

        Plaintiffs’      Complaint        does         not    allege      plausible

supervisory-liability or deliberate-indifference claims against

Bonner or Fields. Defendants’ Motion to Dismiss is GRANTED.

Plaintiffs’        supervisory-liability         and    deliberate-indifference

claims       are    DISMISSED      WITH        PREJUDICE.     Having      dismissed

Plaintiffs’        supervisory-liability         and    deliberate-indifference

claims on the merits, the Court need not reach Defendants’ claims

of qualified immunity. Defendants’ Motion to Stay is DENIED AS

MOOT.


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   SO ORDERED this 13th day of August, 2024.



                                 /s/ Samuel H. Mays, Jr.
                                SAMUEL H. MAYS, JR.
                                UNITED STATES DISTRICT JUDGE




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